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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF CONNECTICUT

                                                           :      Chapter 11
In re:                                                     :      Case No. 22-50073 (JAM)
                                                           :      (Jointly Administered)
                                                           :
HO WAN KWOK, et al.,                                       :
                                                           :
                 Debtors1                                  :      March 6, 2025
                                                           :

    APPELLANT’S STATEMENT OF ISSUES AND DESIGNATION OF ITEMS TO BE
                  INCLUDED IN THE RECORD ON APPEAL

         Appellant G Club Operations LLC (“G Club Operations”), by and through its

undersigned counsel, hereby provides, pursuant to Rule 8009 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), this statement of issues to be presented and designation of

items to be included in the record on appeal with respect to this appeal to the United States

District Court for the District of Connecticut from the Bankruptcy Court’s February 14, 2025

Order Granting In Part Third Motion For Extension of Deadline for Trustee to File Avoidance

Actions (ECF No. 4106, the “Ruling”), granting the Trustee, Luc A. Despins, Chapter 11

Trustee’s (the “Trustee”) Second Supplemental Motion of Chapter 11 Trustee To Extend

February 15, 2025 Deadline For Trustee To File Avoidance Actions (ECF No. 4004, the “Third

Extension Motion”).

                               STATEMENT OF ISSUES ON APPEAL

         1.      Did the Bankruptcy Court have constitutional authority to enter a final judgment

and order concerning the Third Extension Motion?


1
 The Debtors in these chapter 11 cases are Ho Wan Kwok (last four digits of tax identification number: 9595) (the
“Debtor”), Genever Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings
Corporation. The mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is
Paul Hastings LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho
Wan Kwok (solely for purposes of notices and communications).

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         2.      Did the Bankruptcy Court have statutory authority to prospectively modify the

statute of limitations set forth in Bankruptcy Code §§ 546(a) and 549(d) under Rule 9006 of the

Federal Rules of Bankruptcy Procedure?

         3.      Assuming arguendo that the Bankruptcy Court had statutory authority to

prospectively modify the statute of limitations set forth in Bankruptcy Code § 546(a) and 549(d)

under Rule 9006 of the Federal Rules of Bankruptcy Procedure, did the Trustee demonstrate

“good cause” to do so?

                DESIGNATION OF RECORD AND TRANSCRIPT ON APPEAL

         G Club Operations hereby designates the following items to be included in the record on

appeal, which includes any and all exhibits, documents, supplements, and addenda attached

thereto and filed therewith and all documents incorporated by reference therein:

Item      Docket         Docket Entry/Description              Docket Number
No.       Entry Date
1         11/28/2023     Notice of Filing Status Conference    2387
                         Presentation                          Filed in Case No. 22-50073

2         1/18/2024      Motion for Order / Motion for Entry   2509
                         of Order Extending Deadline for       Filed in Case No. 22-50073
                         Trustee to File Avoidance Actions
                         Under Bankruptcy Code Sections
                         108, 546(a), and 549
3         1/31/2024      Notice of / Omnibus Notice of         2540
                         Service and Publication Notice        Filed in Case No. 22-50073
                         Pursuant to Order Granting Chapter
                         11 Trustee's Emergency Motion for
                         Entry of, Pursuant to Bankruptcy
                         Code Section 105(a) and Bankruptcy
                         Rules 2002 and 9014, (I) Approving
                         Form and Manner of Notice of
                         Trustee's Forthcoming Tolling
                         Motion and (II) Scheduling Hearing

4         2/5/2024       Objection to Trustee's Motion for     2551
                         Entry of Order Extending Deadline     Filed in Case No. 22-50073
                         for Trustee to File Avoidance


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Item      Docket        Docket Entry/Description               Docket Number
No.       Entry Date
                        Actions – Mei Gui

5         2/5/2024      Objection (Non-Party Defeng Caos       2553
                        Memorandum of Law in Opposition        Filed in Case No. 22-50073
                        to Motion for Entry of Order
                        Extending Deadline For Trustee To
                        File Avoidance Actions) - Defeng
                        Cao

6         2/5/2024      Objection TO THE CHAPTER 11   2557
                        TRUSTEES MOTION FOR           Filed in Case No. 22-50073
                        ENTRY OF AN ORDER
                        EXTENDING DEADLINE FOR
                        TRUSTEE TO FILE AVOIDANCE
                        ACTIONS UNDER
                        BANKRUPTCY CODE SECTIONS
                        108, 546(a), AND 549 - Taurus
                        Fund LLC

7         2/5/2024      Objection and Memorandum of Law        2563
                        in Opposition Filed - G Club           Filed in Case No. 22-50073

8         2/5/2024      Objection of Non-Parties Rule of     2565
                        Law Foundation III, Inc. and Rule of Filed in Case No. 22-50073
                        law Society IV, Inc. to Motion for
                        Entry of Order Extending Deadline
                        for Trustee to File Avoidance
                        Actions under Bankruptcy Code
                        Sections 108,546(a), and 549 - Rule
                        of Law Society IV, Inc.

9         2/5/2024      Objection - Objections of Third        2566
                        Parties Crhis [sic] Lee and Quidong    Filed in Case No. 22-50073
                        Xia to Trustee's Motion for Entry of
                        Order Extending Deadline for
                        Trustee to File Avoidance Actions
                        Under Bankruptcy Code Sections
                        108, 546(a), and 549

10        2/5/2024      Objection to Trustee's Motion for      2569
                        Entry of an Order Extending            Filed in Case No. 22-50073
                        Deadline for Trustee to File
                        Avoidance Actions - Greenwich
                        Land, LLC, Hing Chi


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Item      Docket         Docket Entry/Description               Docket Number
No.       Entry Date

11        2/5/2024       Objection Filed by Robert J. Grand     2571
                         on behalf of GS Security Solutions,    Filed in Case No. 22-50073
                         Inc.
12        2/7/2024       Objection and Joinder to Trustee's     2582
                         Motion to Extend Deadline to File      Filed in Case No. 22-50073
                         Avoidance Actions - Yinying Wang
                         Interested Party

13        2/9/2024       Reply to (related document(s): 2509    2620
                         Motion for Order / Motion for Entry    Filed in Case No. 22-50073
                         of Order Extending Deadline for
                         Trustee to File Avoidance Actions
                         Under Bankruptcy Code Sections
                         108, 546(a), and 549 Filed by
                         Douglass E. Barron on behalf of Luc
                         A. Despins, Chapter 11 Trustee filed
                         by Chapter 11 Trustee Luc A.
                         Despins)/ Omnibus Reply of
                         Chapter 11 Trustee (I) in Support of
                         Motion for Entry of Order
                         Extending Deadline for Trustee to
                         File Avoidance Actions Under
                         Bankruptcy Code Sections 108,
                         546(a), and 549, and (II) in
                         Response to Objections Thereto –
                         Trustee
14        2/12/2024      Trustee's Witness and Exhibit Lists    2763
                         in Connection with February 13,        Filed in Case No. 22-50073
                         2024 Hearing on Trustee's Motion
                         for Entry of Order Extending
                         Deadline for Trustee to File
                         Avoidance Actions Under
                         Bankruptcy Code Sections 108,
                         546(a), and 549
15        2/13/2024      Hearing on Extension Motion and        2827
                         All Exhibits Proffered by any Party    Filed in Case No. 22-50073

16        2/15/2024      Memorandum of Decision                 2921
                                                                Filed in Case No. 22-50073
17                       Transcript – Hearing on Extension      N/A
                         Motion

18        2/28/2024      G Club Notice of Appeal                2969

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Item      Docket         Docket Entry/Description                Docket Number
No.       Entry Date
                                                                 Filed in Case No. 22-50073




19        2/28/2024      Transmittal of Notice of Appeal to      2970
                         U.S. District Court. Interested Party   Filed in Case No. 22-50073
                         G Club Operations, LLC, docketed
                         the Notice of Appeal

20        7/19/2024      Motion to Extend Time to Extend         3329
                         Deadline to File Avoidance Actions      Filed in Case No. 22-50073
                         (First Supplemental Motion) to
                         02/15/2025 Filed by Patrick R.
                         Linsey on behalf of Luc A. Despins,
                         Chapter 11 Trustee

21        8/6/2024       G Club Operations, LLC’s                3374
                         Objection and Memorandum of Law         Filed in Case No. 22-50073
                         in Opposition to First Supplemental
                         Motion of Chapter 11 Trustee to
                         Extend August 15, 2024 Deadline
                         for Trustee to File Avoidance
                         Actions

22        8/6/2024       Objection to the Chapter 11             3373
                         Trustee’s First Supplemental Motion     Filed in Case No. 22-50073
                         of Chapter 11 Trustee to Extend
                         August 15, 2024 Deadline for
                         Trustee to File Avoidance Actions
                         (ECF 3329) Filed by Christopher J.
                         Major on behalf of Hing Chi Ngok
                         Interested Party

23        8/6/2024       Notice of Filing of Meta Platforms,     3375
                         Inc.’s Objection to Extension of        Filed in Case No. 22-50073
                         Deadline to File Avoidance Actions
                         filed by George Peter Angelich on
                         behalf of Meta Platforms, Inc.
                         Interested Party

24        8/6/2024       Notice of Filing of Apple Inc.’s        3376
                         Objection to Extension of Deadline      Filed in Case No. 22-50073


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Item      Docket         Docket Entry/Description               Docket Number
No.       Entry Date
                         to File Avoidance actions filed by
                         George Peter Angelich on behalf of
                         Apple Inc. Interested Party




25        8/7/2024       Notice of Filing Objections to First   3379
                         Supplemental Motion of Chapter 11      Filed in Case No. 22-50073
                         Trustee to Extend August 15, 2024
                         Deadline for Trustee to File
                         Avoidance Actions in Pending
                         Adversary Proceedings filed by
                         Jeffrey M. Sklarz on behalf of
                         Pillsbury Winthrop Shaw Pittman
                         LLP, Weddle Law PLLC

26        8/9/2024       Omnibus Reply of Chapter 11            3391
                         Trustee (I) In Support of First        Filed in Case No. 22-50073
                         Supplemental Motion of Chapter 11
                         Trustee to Extend August 15, 2024
                         Deadline for Trustee to File
                         Avoidance Actions and (II) in
                         Response to Objections Thereto

27        8/13/2024      Trustee’s Witness and Exhibit Lists    3395
                         in Connection with August 13, 2024     Filed in Case No. 22-50073
                         Hearing on Trustee’s First
                         Supplemental Motion to Extend
                         August 15, 2024 Deadline for
                         Trustee to File Avoidance Actions
                         Filed by Patrick R. Linsey on behalf
                         of Luc A. Despins, Chapter 11
                         Trustee

28        8/14/2024      Order Granting Second Motion for       3417
                         Extension of Deadline for Trustee to   Filed in Case No. 22-50073
                         File Avoidance Actions

29                       Transcript of Hearing Held             N/A
                         8/13/2024 on Motion to Extend          Ordered in Case No. 22-50073
                         Time to Extend Deadline to File
                         Avoidance Actions (First
                         Supplemental Motion) to


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Item      Docket         Docket Entry/Description              Docket Number
No.       Entry Date
                         02/15/2025 Filed by Patrick R.
                         Linsey on behalf of Luc A. Despins,
                         Chapter 11 Trustee

30        8/27/2024      Notice of Appeal to District Court    3458
                         filed by Kellianne Baranowsky on      Filed in Case No. 22-50073
                         behalf of G Club Operations LLC



31        8/28/2024      Transmittal of Notice to U.S.         3469
                         District Court for the District of    Filed in Case No. 22-50073
                         Connecticut Regarding Appeals and
                         Appellate Documents

32        7/22/2024      Notice of Filing Motion of Chapter    22
                         11 Trustee to Extend August 15,       Filed in Adv. Pro. No. 24-05014
                         2024 Deadline For Trustee to File     (Luc A. Despins, Chapter 11
                         Avoidance Actions Filed by Patrick    Trustee v. Pillsbury Winthrop
                         R. Linsey on behalf of Luc A.         Shaw Pittman LLP)
                         Despins, Chapter 11 Trustee

33        8/6/2024       Pillsbury Winthrop Shaw Pittman       24
                         LLP’s Objection and Memorandum        Filed in Adv. Pro. No. 24-05014
                         of Law in Opposition to First         (Luc A. Despins, Chapter 11
                         Supplemental Motion of Chapter 11     Trustee v. Pillsbury Winthrop
                         Trustee to Extend August 15, 2024     Shaw Pittman LLP)
                         Deadline for Trustee to File
                         Avoidance Actions

34        7/22/2024      Notice of Filing Motion of Chapter    10
                         11 Trustee to Extend August 15,       Filed in Adv. Pro. No. 24-05056
                         2024 Deadline For Trustee to File     ( Luc A. Despins, Chapter 11
                         Avoidance Actions Filed by Patrick    Trustee v. FFP (BVI) Limited)
                         R. Linsey on behalf of Luc A.
                         Despins, Chapter 11 Trustee

35        8/6/2024       FFP (BVI) Limited’s Objection and     16
                         Memorandum of Law in Opposition       Filed in Adv. Pro. No. 24-05056
                         to First Supplemental Motion of       ( Luc A. Despins, Chapter 11
                         Chapter 11 Trustee to Extend          Trustee v. FFP (BVI) Limited)
                         August 15, 2024 Deadline for
                         Trustee to File Avoidance Actions



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Item      Docket         Docket Entry/Description               Docket Number
No.       Entry Date
36        7/22/2024      Notice of Filing Motion of Chapter     10
                         11 Trustee to Extend August 15,        Filed in Adv. Pro. No. 24-05012
                         2024 Deadline For Trustee to File      ( Luc A. Despins, Chapter 11
                         Avoidance Actions Filed by Patrick     Trustee v. Ogier)
                         R. Linsey on behalf of Luc A.
                         Despins, Chapter 11 Trustee



37        8/6/2024       Ogier’s Objection and Memorandum       18
                         of Law in Opposition to First          Filed in Adv. Pro. No. 24-05012
                         Supplemental Motion of Chapter 11      ( Luc A. Despins, Chapter 11
                         Trustee to Extend August 15, 2024      Trustee v. Ogier )
                         Deadline for Trustee to File
                         Avoidance Actions

38        7/22/2024      Notice of Filing Motion of Chapter     25
                         11 Trustee to Extend August 15,        Filed in Adv. Pro. No. 24-05188
                         2024 Deadline For Trustee to File      ( Luc A. Despins, Chapter 11
                         Avoidance Actions Filed by Patrick     Trustee v. Weddle Law PPLC)
                         R. Linsey on behalf of Luc A.
                         Despins, Chapter 11 Trustee

39        8/6/2024       Weddle Law PLLC’s Objection and        29
                         Memorandum of Law in Opposition        Filed in Adv. Pro. No. 24-05188
                         to First Supplemental Motion of        (Luc A. Despins, Chapter 11
                         Chapter 11 Trustee to Extend           Trustee v. Weddle Law PPLC)
                         August 15, 2024 Deadline for
                         Trustee to File Avoidance Actions

40        1/24/2025      Motion to Extend Time to Assert        4004
                         Claims Subject to Time Limitations     Filed in Case No. 22-50073
                         Under Sections 108, 546, and 549 of
                         Bankruptcy Code to 8/15/2025
                         (Second Supplemental Motion)
                         Filed by Patrick R. Linsey on behalf
                         of Luc A. Despins, Chapter 11
                         Trustee
41        1/27/2025      Notice of Hearing Issued Re:           4009
                         Second Supplemental Motion             Filed in Case No. 22-50073

42        2/7/2025       Objection and Memorandum of Law        4034
                         in Opposition to Second                Filed in Case No. 22-50073
                         Supplemental Motion of Chapter 11


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Item      Docket        Docket Entry/Description                   Docket Number
No.       Entry Date
                        Trustee to Extend February 15. 2025
                        Deadline for Trustee to File
                        Avoidance Actions Filed by Jeffrey
                        M. Sklarz on behalf of G Club
                        Operations, LLC Interested Party
43        2/7/2025      Objection American Express                 4035
                        Company's Objection to Second              Filed in Case No. 22-50073
                        Supplemental Motion of Chapter 11
                        Trustee to Extend February 15, 2025
                        Deadline For Trustee To File
                        Avoidance Actions Filed by Ronald Ian
                        Chorches on behalf of American
                        Express Company, Inc. Creditor
44        2/7/2025      Objection - NOTICE OF JOINDER IN           4039
                        OBJECTIONS TO MOTION TO                    Filed in Case No. 22-50073
                        EXTEND THE FEBRUARY 15, 2025,
                        DEADLINE FOR TRUSTEE TO FILE
                        AVOIDANCE ACTIONS Filed by
                        Michael T. Conway on behalf of
                        Himalaya International Financial Group
                        Limited, Himalaya International
                        Clearing Ltd., Himalaya Currency
                        Clearing Pty Ltd, Hamilton Digital
                        Assets Fund SP, Hamilton PE Fund SP,
                        Hamilton Opportunity Fund SPC, Gettr
                        USA, Inc., ACA Capital Group Ltd.,
                        Taurus Fund LLC
45        2/7/2025      Notice of Filing of Apple Inc. Objection   4040
                        to Second Supplemental Motion of           Filed in Case No. 22-50073
                        Chapter 11 Trustee to Extend February
                        15, 2025 Deadline for Trustee to File
                        Avoidance Actions Filed by George
                        Peter Angelich on behalf of Apple Inc.
                        Interested Party
46        2/7/2025      Objection Notice of Joinder in             4041
                        Objections to Trustee's Motion to          Filed in Case No. 22-50073
                        Extend February 15, 2025 Deadline for
                        Trustee to File Avoidance Actions Filed
                        by Brian T. Peterson on behalf of
                        Amazon Web Services, Inc.,
                        Amazon.com, Inc.
47        2/7/2025      Notice of Filing of Meta Platforms Inc.    4042
                        Objection to Second Supplemental           Filed in Case No. 22-50073
                        Motion of Chapter 11 Trustee to Extend
                        February 15, 2025 Deadline for Trustee
                        to File Avoidance Actions Filed by
                        George Peter Angelich on behalf of
                        Meta Platforms, Inc. Interested Party

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 Item      Docket         Docket Entry/Description                    Docket Number
 No.       Entry Date
 48        2/7/2025       Objection to 2nd Supp. Mtn. to Extend       4044
                          Deadline to File Avoidance Actions          Filed in Case No. 22-50073
                          Filed by Eric Seltzer on behalf of Miller
                          Motorcars Inc. Interested Party
 49        2/10/2025      Trustee's Witness and Exhibit Lists         4046
                          in Connection with February 11,             Filed in Case No. 22-50073
                          2025 Hearing on Trustee's Second
                          Supplemental Motion to Extend
                          February 15, 2025 Deadline for
                          Trustee to File Avoidance Actions
 50                       Transcript of Hearing Held                  N/A
                          2/11/2025 on Second Supplemental            Ordered in Case No. 22-50073
                          Motion to Extend Time to Assert
                          Claims Subject to Time Limitations
                          Under Sections 108, 546, and 549 of
                          Bankruptcy Code

 51        2/14/2025      Order Granting In Part Third Motion for     4106
                          Extension of Deadline for Trustee to        Filed in Case No. 22-50073
                          File Avoidance Actions
 52        2/20/2025      Notice of Appeal to District Court          4127
                          filed by Michelle Antao on behalf of        Filed in Case No. 22-50073
                          G Club Operations LLC



 53        2/20/2025      Transmittal of Notice to U.S.               4132
                          District Court for the District of          Filed in Case No. 22-50073
                          Connecticut Regarding Appeals and
                          Appellate Documents

 54        2/21/2025      Notice and Acknowledgement of               4132
                          Docketing Notice of Appeal to District      Filed in Case No. 22-50073
                          Court
 55        1/29/2025      Notice of Filing Motion to Extend           33
                          Deadline to File Avoidance Actions          Filed in Adv. Pro. No. 24-05056
                          and Notice of Hearing Filed by              (Despins v. FFP (BVI) Limited)
                          Patrick R. Linsey on behalf of Luc
                          A. Despins Plaintiff
 56        2/7/2025       FFP (BVI) Limited’s Objection and           36
                          Memorandum of Law in Opposition to          Filed in Adv. Pro. No. 24-05056
                          Second Supplemental Motion of               (Despins v. FFP (BVI) Limited)
                          Trustee to Extend February 15, 2025
                          Deadline for Trustee to File Avoidance
                          Actions


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 Item      Docket         Docket Entry/Description                 Docket Number
 No.       Entry Date
 57        1/29/2025      Notice of Filing Motion to Extend        22
                          Deadline to File Avoidance Actions       Filed in Adv. Pro. No. 24-05012
                          and Notice of Hearing Filed by           (Despins v. Ogier)
                          Patrick R. Linsey on behalf of Luc
                          A. Despins Plaintiff
 58        2/7/2025       Ogier’s Objection and Memorandum of      23
                          Law in Opposition to Second              Filed in Adv. Pro. No. 24-05012
                          Supplemental Motion of Trustee to        (Despins v. Ogier)
                          Extend February 15, 2025 Deadline for
                          Trustee to File Avoidance Actions
 59        1/29/2025      Notice of Filing Motion to Extend        51
                          Deadline to File Avoidance Actions       Filed in Adv. Pro. No. 24-05188
                          and Notice of Hearing Filed by           (Despins v. Weddle Law PLLC)
                          Patrick R. Linsey on behalf of Luc
                          A. Despins Plaintiff
 60        2/7/2025       Weddle Law PLLC’s Objection and          52
                          Memorandum of Law in Opposition to       Filed in Adv. Pro. No. 24-05188
                          Second Supplemental Motion of            (Despins v. Weddle Law PLLC)
                          Trustee to Extend February 15, 2025
                          Deadline for Trustee to File Avoidance
                          Actions
 61        1/29/2024      Notice of Filing Motion to Extend        68
                          Deadline to File Avoidance Actions and   Filed in Adv. Pro. No. 24-05060
                          Notice of Hearing Filed by Patrick R.    (Despins v. Apple Inc. et al)
                          Linsey on behalf of Luc A. Despins
                          Plaintiff
 62        2/7/2025       Objection / Apple Inc. Objection to      69
                          Second Supplemental Motion of            Filed in Adv. Pro. No. 24-05060
                          Chapter 11 Trustee to Extend February    (Despins v. Apple Inc. et al)
                          15, 2025 Deadline for Trustee to File
                          Avoidance Actions Filed by George
                          Peter Angelich on behalf of Apple Inc.
                          Defendant
 63        1/29/2025      Notice of Filing Motion to Extend        43
                          Deadline to File Avoidance Actions and   Filed in Adv. Pro. No. 24-05117
                          Notice of Hearing Filed by Patrick R.    (Despins v. Meta Platforms Inc.)
                          Linsey on behalf of Luc A. Despins
                          Plaintiff
 64        2/7/2025       Objection / Meta Platforms Inc.          44
                          Objection to Second Supplemental         Filed in Adv. Pro. No. 24-05117
                          Motion of Chapter 11 Trustee to Extend   (Despins v. Meta Platforms Inc.)
                          February 15, 2025 Deadline for Trustee
                          to File Avoidance Actions Filed by
                          George Peter Angelich on behalf of
                          Meta Platforms Inc. Defendant




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                       CERTIFICATION REGARDING TRANSCRIPTS

          Pursuant to Rule 8009(b)(1) of the Federal Rules of Bankruptcy Procedure, G Club

 Operations hereby certifies that all relevant transcripts have been ordered and are listed in the

 above designation of the record.

                                    RESERVATION OF RIGHTS

          G Club Operations expressly reserves its right to supplement this designation.




 Dated: March 6, 2025
                                                         G CLUB OPERATIONS LLC

                                                   By: /s/ Michelle A. Antao
                                                      GREEN & SKLARZ LLC
                                                      Jeffrey M. Sklarz (ct20938)
                                                      Kellianne Baranowsky (ct26684)
                                                      Michelle A. Antao (ct31715)
                                                      One Audubon St, 3rd Floor
                                                      New Haven, CT 06511
                                                      Tel: 203-285-8545
                                                      jsklarz@gs-lawfirm.com
                                                         kbaranowsky@gs-lawfirm.com
                                                         mantao@gs-lawfirm.com




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on the date set forth below, a copy of the foregoing was served via

 CM/ECF. Parties may access this filing through the Court’s CM/ECF system.


 Date: March 6, 2025                                   /s/ Michelle A. Antao




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